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                            UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS

MUZAFAR BABAKR,

                               Plaintiff,

v.                                                            Case No. 20-2037-SAC-ADM

JACOB T. FOWLES, et al.,

                               Defendants.


                                       PRETRIAL ORDER

       On May 25, 2022, U.S. Magistrate Judge Angel D. Mitchell conducted a pretrial

conference in this case, by phone.          Plaintiff Muzafar Babakr (“Babakr”) appeared pro se.

Defendants Jacob Fowles, Dorothy Daley, Steven Maynard-Moody, Charles Epp, Heather Getha-

Taylor, Rosemary O’Leary, Carl Lejuez, Kristine Latta, and the University of Kansas (collectively,

“Defendants”) appeared through counsel Eric Aufdengarten.

       This pretrial order supersedes all pleadings and controls the subsequent course of this case.

It will not be modified except by consent of the parties and the court’s approval, or by order of the

court to prevent manifest injustice. See FED. R. CIV. P. 16(d) & (e); D. KAN. RULE 16.2(b).

1.     PRELIMINARY MATTERS.

       a.      Subject-Matter Jurisdiction. Subject-matter jurisdiction is invoked under 28

U.S.C. § 1331, 28 U.S.C § 1343, 28 U.S.C. § 1332(a)(2), and 28 U.S.C. § 1367, and is not disputed.

       b.      Personal Jurisdiction. The court’s personal jurisdiction over the parties is not

disputed.

       c.      Venue. Venue in this court is not disputed.


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       d.     Governing Law. Subject to the court’s determination of the law that applies to the

case, the parties believe and agree that the claims and defenses are governed by Title VI of the

Civil Rights Act of 1964, 42 U.S.C. § 2000, et seq. (“Title VI”) (Count I); 42 U.S.C. § 1983

(Counts II, IV, V, and VI); and Kansas law regarding common law civil conspiracy (Count III).

2.     STIPULATIONS.

       a.     The following facts are stipulated:

                 i.   Babakr was a doctoral student at the University of Kansas (“KU”) School
                      of Public Affairs and Administration (“the School”).

                ii.   Babakr was pursuing a doctoral degree in Public Administration with a
                      specialization in Organization Theory.

               iii.   Babakr started his first semester in January 2013.

               iv.    Babakr was an international student from Kurdish Iraq.

                v.    Babakr enrolled in coursework up to and including the Spring 2015
                      semester.

               vi.    Babakr’s remaining enrollment for the Fall 2015, Spring 2016, Fall 2016,
                      Spring 2017, and Fall 2017 semesters was for dissertation hours.

               vii.   Babakr filed a grievance with the University of Kansas Judicial Board on
                      January 19, 2017.

              viii.   On May 15, 2017, a hearing on Babakr’s grievance was held at which
                      testimony was provided and exhibits were presented to a hearing panel.

               ix.    On June 1, 2017, Dean Carl Lejuez emailed Babakr the outcome of
                      Babakr’s grievance proceeding.

                x.    On July 3, 2017, Babakr submitted his appeal to the Judicial Board.

               xi.    The final University decision regarding Babakr’s grievance was sent to him
                      on August 24, 2017.

               xii.   Babakr was placed on probation in September 2017.

              xiii.   Babakr was dismissed from the doctoral program on February 9, 2018.

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       b.      The parties have stipulated to the admissibility of the following exhibits for

purposes of summary judgment and trial:

                  i.   The following documents produced in discovery:

                          KU 000001 – 003111

                          P 00001 – 000591

                 ii.   University of Kansas Policies and Procedures, including those of the
                       College of Liberal Arts and Sciences and the School of Public Affairs and
                       Administration

                iii.   Audio recording of Babakr’s grievance hearing

3.     FACTUAL CONTENTIONS.

       a.      Plaintiff Babakr’s Contentions.

       I enrolled in the School as an international student at KU in the Spring 2013 semester to

complete a PhD in Public Administration. I received funding through a scholarship from the Iraqi

Kurdistan Ministry of Higher Education and Scientific Research, my sponsor. During my time in

the doctoral program, my grade point average (“GPA”) was a 3.84 out of a possible 4.0 points.

Specifically, my foundations GPA was 3.85 and my specialization GPA was 4.0. As a PhD

student, I passed one written comprehensive exam, the Foundations exam, and spent at least three

semesters working on my dissertation research.

       Since my very first moments at the School, I felt I was treated differently than other

students because I was an international student of Iraqi Kurd origin. An example of this is that the

School provided other students office space, but did not provide it to me. International students

were specifically targeted for discrimination, to such extent that none remained at the School after

KU dismissed me. Since 2013, the School has not admitted any other international student.


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Moreover, the only two students the School dismissed were international students. An additional

international student took a leave of absence several years ago and never returned.          The

aforementioned international students were all from Asia.

       During my time at KU, I heard students from various protected classes complaining about

the School’s discrimination and unequal treatment. I believe the PhD program coordinator, Dr.

Holly Goerdel (“Coordinator Goerdel”), made comments to others about my national and cultural

background. Several times, School students and staff asked me about my national cultural

background. One student immediately removed me from her Facebook friends list once she asked

about my national cultural background. Another student always tried to avoid me. I generally felt

unwelcome.

       The School has a history of discriminating against its students of protected classes,

especially international students. Of the four doctoral students who were members of protected

classes and faced problems in our School, three were students of my advisor, Dr. Rosemary

O’Leary (“Dr. O’Leary”). All students who were dismissed or forced to leave the School when

there was no way they could continue were from protected classes. No Caucasian majority

students faced these types of challenges or were forced to leave the school.

       I faced intentional national origin discrimination while at KU. For example, as with all

PhD students, I was required to take a written PhD Comprehensive Exam in my specialization

(“specialization exam”). But I was the only student whose specialization exam was chaired by

Coordinator Goerdel rather than by my advisor, Dr. O’Leary. This was a clear violation of School

policy. In Spring 2015 semester, Dr. O’Leary told me that Coordinator Goerdel would chair my

specialization exam, which was scheduled for the Fall 2015 semester. Upon contacting other


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students, they all told me that the student’s advisor chairs the specialization exam. Coordinator

Goerdel did not have the academic credentials to chair my specialization exam. She had no prior

working relationship with me, and I faced hostility from her.

       In the Fall 2015 semester, Coordinator Goerdel was on parental leave, so she could not

chair my specialization exam at that time. When she returned in the Spring 2016 semester, she

chaired my specialization exam in violation of the School’s policy. This led to Dr. O’Leary losing

interest and ending my advising relationship with her. Because no one had accepted me as his/her

student after Dr. O’Leary, I could not retake the specialization exam in the Spring 2016 semester.

Due to the failure of the exam committees to conduct the exams in a similar way to how they were

done for other students, I was forced to retake the exams. I was, and continue to be, ready to take

my specialization exam. However, for two years, Coordinator Goerdel has made it impossible for

me to sit for the exam. This was due to my national and ethnic background as an Iraqi Kurd.

       Doctoral students work with an advisor to prepare them for the specialization exam. It is

important that an advisor who is familiar with and knowledgeable about the student’s field of

expertise chair the student’s specialization exam. Coordinator Goerdel realized that she had

caused my advising relationship with Dr. O’Leary to end, so she began forcing me to return to Dr.

O’Leary for advising in violation of School policy. Coordinator Goerdel asked me not to ask other

faculty members to serve as my advisor in the Spring 2016 semester. Coordinator Goerdel also

asked me to copy her on my emails asking faculty members to serve as my advisor. She negatively

affected the view of faculty members who I was contacting. The result was that none of them

accepted me as their student.




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       In the Spring 2016 semester, I tried to change my specialization because the faculty

members I contacted could not serve as my advisor. In March 2016, Coordinator Goerdel and the

doctoral committee that she was chairing—which was composed of Drs. Jacob Fowles, Dorothy

Daley, Steven Maynard-Moody, and O’Leary (the “doctoral committee”)—interfered in my

program in violation of School policy and put me in unreasonable conditions in that semester and

the subsequent semesters. The doctoral committee forced me to stay in my specialization even

though I did not have an advisor for my specialization. Instead, they made the unprecedented

decision of assigning me to work with a “group of advisors” in violation of School policy.

       In a March 2016 meeting, Coordinator Goerdel realized that the doctoral committee’s

decision to force me to have a “committee of advisors” but no “single advisor” made no sense, so

she raised the idea of reinstating the advising relationship with Dr. O’Leary. At a meeting on

March 15, 2016, Coordinator Goerdel and Director Reginald Robinson (“Director Robinson”)

forced me to reinstate the advising relationship with Dr. O’Leary. I reinstated the advising

relationship with Dr. O’Leary, and I registered for the specialization exam that was to be offered

in Fall 2016 semester. However, the advising relationship with Dr. O’Leary came to an end again

in May 2016 because she was not interested in working with me.

       After May 2016, I remained without an advisor; hence, I tried to change my specialization.

In July 2016, the doctoral committee did not allow me to change my specialization and said nothing

about how I could pursue a specialization without an advisor. At that time, I said I would bring

those issues to the attention of someone outside the School. Upon saying that, the doctoral

committee, under the leadership of Coordinator Goerdel and Director Robinson, retaliated against

me simply because I said I was going to file a grievance within KU. The doctoral committee


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stopped communicating with me, and Director Robinson singled me out among the doctoral

students by saying he would be my point of contact and that I was no longer allowed to

communicate with Coordinator Goerdel or any member of the doctoral committee.

       In Summer 2016, Director Robinson forced me to sit for the specialization exam that was

scheduled for the Fall 2016 semester. He did this despite me not having an advisor, and the

registration was subsequently cancelled.      Director Robinson also obliged me to enroll in

dissertation hours with Coordinator Goerdel even though Coordinator Goerdel has no academic

credentials to serve as my advisor and she stopped communicating with me. Director Robinson

then suggested that I enroll in dissertation hours with him. He also had no academic credentials

to serve as my advisor and I was not his student. Both Coordinator Goerdel and Director Robinson

neglected my need for an advisor, despite raising this issue with Director Robinson in an August

2016 meeting. Because I had no advisor, I was forced to take a leave of absence to maintain my

J-1 visa status in August 2016. At that time, I received an email from Director Robinson notifying

me that I should consider the implications of taking a leave of absence. I then realized that they

were plotting to have me discontinue the program.

       As no one accepted me as a student at the School, I considered transferring to the KU

School of Business because I had taken several classes there. But Dr. Heather Getha-Taylor (“Dr.

Getha-Taylor”) provided misleading information about me to the School of Business.

Additionally, as I was trying to contact other higher administrators within KU about the issue of

not having an advisor, Coordinator Goerdel or Director Robison provided false information to

other university parties by making the case that I had been provided with several options. In

reality, there was no option for me to continue in the doctoral program.


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       Although the College of Liberal Arts and Sciences (“College”) finally approved my leave

of absence in August 2016, I revoked it partly because I felt I could not trust the information

provided to me nor the School’s intention. The School’s discriminatory actions continued and, at

Director Robinson’s request, I signed a letter under duress in September 2016 agreeing to stay

with Dr. O’Leary until I completed my program.

       In the Fall semester of 2016, Director Robinson told me that Dr. O’Leary was interested in

having me once again as a student while, in fact, she was not. In a meeting in her office, she was

about to physically attack me. Hence, the advising relationship came to an end for the second

time. I remained without an advisor and, therefore, could not take any further steps in the program.

The discrimination continued, with Coordinator Goerdel and Director Robinson then forcing me

to sit for the specialization exam without even completing registration as the pre-registration

requirements were not present.

       The doctoral committee and Director Robinson neglected ensuring that I had an advisor.

Without an advisor, I could violate federal immigration rules for J-1 visa holders. Because I did

not have an advisor, I could not enroll for the Spring 2017 semester. However, I eventually

enrolled with a faculty member as a “place holding” mechanism to avoid falling out of legal status.

The doctoral committee and Director Robinson, through these actions, could have led to violating

the contract with my program sponsor.

       In January 2017, I filed a grievance with the KU Judicial Board against Coordinator

Goerdel and Director Robinson. While the grievance was pending, I received an email from

Director Robinson telling me that I needed to sit for the specialization exam in February 2017. I




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could not sit for the specialization exam because I did not have an advisor, I was not registered for

the exam, and there was a pending grievance.

       For the pending grievance, Coordinator Goerdel or Director Robinson provided false

information to Dean Carl Lejuez (“Dean Lejuez”). They made the case that I had filed the

grievance because I was worried about the outcome of the specialization exam, thereby misleading

Dean Lejuez who, like the KU Judicial Board, was initially willing to consider the grievance. I

was never worried about the outcome of the specialization exam. I was worried about a situation

where somebody other than my advisor, and especially someone like Coordinator Goerdel who,

besides being hostile towards me also holds no academic credentials, would chair my

specialization exam. Coordinator Goerdel and Director Robinson also admitted in their response

to Dean Lejuez that the reason I tried to change my specialization was that I did not have an

advisor. Because of the misleading information provided to Dean Lejuez, I lost the grievance at

the college level in June 2017. The grievance was not handled according to the policies in place

due to the misleading information provided to Dean Lejuez.

       I appealed that decision to the KU Judicial Board. When Dean Lejuez was asked to provide

a response about my appeal of his decision in August 2017, he provided false and misleading

information to the KU Judicial Board by making the case that nothing was preventing me from

finishing my degree. In reality, the doctoral committee and Director Robinson impeded my

education and made it impossible for me to finish the degree. Because of the misleading

information provided, I lost the appeal at the KU Judicial Board level in August 2017.

       As part of the doctoral committee’s collective discriminatory actions against me, the

committee continued to put me in an unreasonable condition. After I filed the grievance in January


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2017, Coordinator Goerdel and Director Robinson stepped down and the School formed a new

administration. Dr. Charles Epp (“Coordinator Epp”) became the new program coordinator and

Dr. O’Leary became the new School Director (“Director O’Leary”). I contacted Coordinator Epp

in July and then in September 2017 about the issue of not having an advisor and the need to pursue

a new specialization. In September 2017, under Coordinator Epp’s leadership, the doctoral

committee came up with the inexplicable decision of a “form signer” and asked me to enroll in

dissertation hours with Director O’Leary as a form signer. The doctoral committee also forced a

“committee of hostile advisors” on me, which was composed of Director O’Leary, Drs. Maynard-

Moody, and Getha-Taylor. This decision violated School policy. None of those three faculty

members agreed to serve as my advisor, yet they were all ready to serve as my advisors. If a

group/committee of advisors was available, it logically follows that one advisor was also available.

       In September 2017, as I brought the issue of not having an advisor to Coordinator Epp’s

attention, I was left with no option other than saying I would bring the doctoral committee’s

discriminatory actions against me to the attention of the court. Upon saying this, the doctoral

committee, in consultation with Director O’Leary, Dean Lejuez, and Dr. Kristine Latta (“Dr.

Latta”), and with the participation of Dr. Getha-Taylor, plotted against me and placed me on

probation as retaliation. They designed a pathway in which I had to enroll in dissertation hours

with Dr. Maynard-Moody for only one semester and without discussing my dissertation with him.

I was placed on probation and eventually terminated without regard to due process of law such as

a fair hearing and such decisions were not made by impartial people.

       If a doctoral student is placed on real probation, the student will typically be first notified

that the student will be placed on probation if he/she does not meet certain requirements. In my


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case, when I asked Coordinator Epp for a meeting about the probation, he refused to even meet

with me despite numerous requests from me to meet with him. Because he was so angry after I

stated that I would go to court, he did not even want to see me face to face.

       The retaliatory probation letter violated School policy and the outlined course of action

was illogical, illegitimate, and unimplementable. The retaliatory probation letter says it addresses

two issues; one is progress towards degree and the other is my request to be assigned an advisor.

As for progress towards degree, the retaliatory probation letter states that I was placed on academic

probation for not making progress towards my degree. However, this letter was merely a pretext,

as I have a progress letter from the School contradicting that claim. Further, when I submitted the

self-evaluation form used to determine whether a doctoral student is making progress, I was not

told that I was not making progress.

       As for my need for an advisor, the retaliatory probation letter did not identify an advisor.

It again suggested the odd, illogical, and un-implementable idea of a committee/group of advisors

with one faculty member assigned as a “form signer.” There was no clear reason for forcing me

to enroll in dissertation hours with Dr. Maynard-Moody, as he lacks the required academic

qualification, had no prior work relationship with me, and was also hostile to me. Further, Dr.

Maynard-Moody’s relationship to me was restricted to one semester and one task which is dubious

unless understood that his sole function was to facilitate my dismissal in that particular semester.

       According to Dr. Maynard-Moody, my enrollment in dissertation hours with him was to

prepare to the exam and not to work on my dissertation. In academia, there is nothing called

enrollment in dissertation hours to prepare for examination. Enrollment in dissertation hours means

that the student works on his/her dissertation. On an academic level, I must make progress towards


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the degree and one semester is half an academic year. I cannot tell my sponsor I did not make

progress for a half year because the faculty member with whom I was enrolled in dissertation hours

does not have expertise in my area of research and asks me not to discuss my dissertation with

him. If I make this argument to my sponsor, my sponsor will say I had to enroll with someone with

expertise in my research area so I could make continuous progress.

       Thus, Dr. Maynard-Moody was a hostile, forced, one-semester form signer. He did not

want to be my advisor, and he told me as much by email when I asked him to serve as my

advisor in the Spring 2016 semester. In an email to my advisor in the Spring 2016 semester, Dr.

Maynard-Moody described my request to him to serve as my advisor as a strange request. When

reading Dr. Maynard-Moody’s response to my request to serve as my advisor, the Court can

easily conclude that a faculty member who so strongly reacts when the student asks him to serve

as his advisor back in the Spring 2016 semester does not actually mean it when he says he is

assigned as an “advisor” in the Fall 2017 semester. What he, along with other members of the

doctoral committee in consultation with Dean Lejuez, Director O’Leary, and Dr. Latta came up

with in the retaliatory probation letter was a plot to facilitate my dismissal in the program.

       The retaliatory probation letter also says the specialization examination was administered

in the Spring 2016 semester, Fall 2016 semester, and Spring 2017 semester. All three of these

specialization examination administrations violate School policy.

       Under School policy, 2-3 faculty members sitting on the student’s committee conduct the

specialization examination. Among the 2-3 faculty members, the student’s advisor chairs the

specialization examination. During none of these three times did Dr. O’Leary who worked with

me as my chosen advisor agree to chair the specialization examination and this was at the heart


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of all the problems. Not only did she not agree; she also lost interest in working with me. Instead,

Coordinator Goerdel discriminated against me by chairing my specialization exam.

       For the Fall 2016 and Spring 2017 semesters, it was impossible for me to sit for the

specialization exam. As for the Fall 2016 semester, I was on a leave of absence. When a student

takes a leave of absence, his/ her program activities will come to a halt. In the Spring 2017

semester, I had a pending grievance. Filing a grievance would serve no purpose if I sat for the

specialization examination back then.

       A doctoral student can do nothing without an advisor. The government of the United States

allowed me to stay in the United States because KU committed that I was their student and, hence,

could study at the KU. Yet the doctoral committee was neglectful about my need for an advisor.

I thus fell out of legal visa status in October 2017. The doctoral committee continued to put me in

an unreasonable situation. Coordinator Epp said by email that the Fall 2017 semester would be

my last, thereby predetermining the result of the specialization exam that semester.

       The doctoral committee finally dismissed me based on a retaliatory probation in violation

of several policies. Thus, the dismissal was also retaliatory. I was dismissed during Spring 2018

semester while the dismissal should have been done at the end of the Spring 2018 semester. I was

not allowed to appeal the dismissal decision because it was retaliatory in nature.

       Director O’Leary or Coordinator Epp caused the release of false and misleading

information to my sponsor, the Iraqi Kurdistan Ministry of Higher Education and Scientific

Research. Based on this misleading information, my sponsor has the impression that I myself

chose not to finish the degree at KU when, in reality, the doctoral committee left me with no option

other than a situation where I could not pursue the degree due to a lack of an advisor.


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       The manner I was treated when at KU and the adverse actions taken against me caused me

enormous emotional distress. For example, Coordinator Goerdel had me removed from the PhD

email listserv in July 2016. I was then added again only after re-establishing the advising

relationship with Dr. O’Leary in the Fall 2016 semester, thereby isolating me from the School,

which made me feel alienated, as she regularly ignored me and never responded to my emails.

       Coordinator Goerdel was the cause of everything that was inflicted on me while I was in

the School. Also, she misled Dean Lejuez, making him dismiss parts of my grievance and deny

the remaining parts. After I wrote the appeal, I met with Dean Lejuez. He was very angry with

me and stood up from his chair in a threatening manner.

       For his part, Director Robinson was targeting me for verbal and nonverbal harassment,

including yelling and screaming at me. In his meetings with me, he continually interrupted me,

used accusatory language, and ignored my viewpoint and my need for an advisor. He often

criticized me, singled me out among other students, and treated me differently than Caucasian

students. Director Robinson also intimidated and undermined me by continuously pushing me to

proceed in the program without an advisor, which violated the School policy. He targeted me

through cyberbullying by sending emails to me in which he continuously threatened to dismiss me

from the program. He also continuously pushed me to do things I did not want to do, such as

forcing me to work with faculty members of his choice and ignoring what the School policy says.

       The harshest treatment, however, came from Coordinator Epp. In meeting, he twice

showed me the door and yelled at me. He also targeted me for cyberbullying by continuously

threatening to dismiss me from the program even though I did not have an advisor and a doctoral

student can take no steps without an advisor.


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       For her part, Director O’Leary singled me out among the doctoral students.           After

Coordinator Epp took office, Director O’Leary chose to be copied in Coordinator Epp’s

communications with me.

       b.      Defendants’ Contentions.

       Babakr was a doctoral student at the University of Kansas (“KU”) in the School of Public

Affairs and Administration (“School”) beginning in the Spring 2013. He completed all the

required coursework by the end of the Spring 2015 semester. In the Fall of 2015, he failed a

required specialization exam in his specialization of Organization Theory. He was informed that

he would be allowed one more chance to pass the specialization exam and that his failure to take

or pass the specialization exam would result in his dismissal from the program.

       Babakr refused to sit for the specialization exam after that time. In Spring 2016, Babakr

withdrew from the February 19 exam two days before it was scheduled. He claimed his advisor,

Dr. O’Leary, was no longer interested in working with him. In Fall 2016, Babakr refused to sit

for the September 9 exam and even submitted a Leave of Absence, which was approved August

29. By September 16, Babakr was allowed to revoke the Leave of Absence upon his express

agreement to sit for the exam by November 18 and to continue working with Dr. O’Leary. In

Spring 2017, Babakr refused to sit for the February 10 exam after he filed a grievance against

Director Robinson and Goerdel for refusing his request to change his specialization. The grievance

and appeal process concluded August 24, 2017. Babakr did not seek judicial review of the

decision.

       On September 9, 2017, Babakr emailed Epp, the new PhD program coordinator, to again

request to change his specialization. Epp responded that the School had offered Babakr a way


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forward to take the exam and complete the remaining steps of his degree program. On September

11, Babakr objected, stating that the plan did not provide him with a proper advisor. Epp responded

that the committee of professors would jointly serve as Babakr’s advisors for the exam. On

September 13, Babakr met with Epp and Diana Kozlowsky, the School’s administrative officer, to

discuss Babakr’s path forward. Babakr objected to taking the exam scheduled for October 6. On

September 15, Epp wrote to Babakr that Maynard-Moody would be Babakr’s advisor for the

specialization exam and for enrolling in credits. Epp also informed Babakr that the School was

recommending Babakr be placed on academic probation for the Fall 2017 semester because of his

repeated failure to pass and take the specialization exam.

       Babakr was placed on academic probation in the Fall 2017 semester, with the requirement

that he successfully complete the specialization exam by December 15, 2017. Babakr again did

not sit for the specialization exam. As a consequence, Epp notified Babakr on January 30, 2018,

that the School recommended to the College of Liberal Arts and Sciences (the “College”) that he

be dismissed from the PhD program effective with the start of the Spring 2018 term. On February

9, 2018, the Director of the College Office of Graduate Affairs informed Babakr of his dismissal

from graduate studies at the University.

4.     LEGAL CLAIMS AND DEFENSES.

       a.      Plaintiff Babakr’s Legal Claims.

       Babakr asserts he is entitled to recover upon the following alternative theories:

                  i.   Title VI Retaliation against KU (Count 1 of the Second Amended
                       Complaint) – KU took materially adverse actions against me in retaliation
                       for my opposition to its intentional, national-origin discrimination.

                 ii.   First Amendment Retaliation under of 42 U.S.C. § 1983 against Epp,
                       Fowles, Daley, O’Leary, and Maynard-Moody in their individual and
                       official capacities; and against Lejuez and Latta in their individual
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                   capacities (Count II) – I engaged in protected activity by exercising my right
                   of free speech when I said I would file a lawsuit against the doctoral
                   committee. Epp, Fowles, Daley, O’Leary, Maynard-Moody, Lejuez, and
                   Latta retaliated against me for this.

            iii.   Common Law Civil Conspiracy against Epp, Fowles, Daley, O’Leary,
                   Maynard-Moody, Getha-Taylor, Lejuez, and Latta in their individual
                   capacities (Count III) – After stating in September 2017 that I would sue,
                   Epp, Fowles, Daley, O’Leary, Maynard-Moody, Getha-Taylor, Lejuez, and
                   Latta conspired against me.

             iv.   Civil Conspiracy under 42 U.S.C. § 1983 against Epp, Fowles, Daley,
                   O’Leary, Maynard-Moody in their individual and official capacities; and
                   against Getha-Taylor, Lejuez, and Latta in their individual capacities
                   (Count IV) – After stating I would sue in September 2017, Epp, Fowles,
                   Daley, O’Leary, Maynard-Moody, Getha-Taylor, Lejuez, and Latta
                   conspired against me.

             v.    Procedural Due Process under 42 U.S.C. § 1983 against Epp, Fowles,
                   Daley, O’Leary, Maynard-Moody in their individual and official capacities;
                   and against Lejuez and Latta in their individual capacities (Count V) – Epp,
                   Fowles, Daley, O’Leary, Maynard-Moody, Lejuez, and Latta deprived me
                   of property interest in violation of procedural due process of law by a
                   retaliatory probation and dismissal from the doctoral program.

             vi.   Substantive Due Process under 42 U.S.C. § 1983 against Epp, Fowles,
                   Daley, O’Leary, Maynard-Moody in their individual and official capacities;
                   and against Lejuez and Latta in their individual capacities (Count VI) – Epp,
                   Fowles, Daley, O’Leary, Maynard-Moody, Lejuez, and Latta deprived me
                   of property interest in violation of substantive due process of law by a
                   retaliatory probation and dismissal from the doctoral program.

  b.       Defendants’ Defenses.1

  Defendants assert the following defenses:



  1
      The following claims have been dismissed:
        a. Eleventh Amendment immunity as to KU and individual officials sued in their
            official capacity for damages under § 1983 and for damages and injunctive relief
            on state law claims (ECF 38, at 17);
        b. Title VI discrimination (id. at 28-29; ECF 58, at 7-8, adopted by ECF 67);
        c. Claims for acts occurring prior to January 21, 2018 (ECF 38, at 24 (Title VI
            discrimination), 31 (Title VI retaliation June 2016), 48-49 (negligence), 54
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             i.   As to all counts, Babakr will be unable to prove each element of the claim.

            ii.   As to all counts, Defendants had legitimate, non-retaliatory reasons for their
                  actions.

           iii.   As to all counts, claims for acts occurring prior to January 21, 2018, are
                  untimely. (ECF 38, at 24 (Title VI retaliation generally), 33-34 (Title VI
                  retaliation regarding probation), 37 (§ 1983 claims), 51 (common law
                  conspiracy).)

           iv.    As to Counts II, IV, V, and VI, Defendants are entitled to qualified
                  immunity.

            v.    As to Counts II, IV, V, and VI, Fowles, Day, Maynard-Moody, and Getha-
                  Taylor did not personally participate in the decisions to place Babakr on
                  academic probation or to dismiss Babakr (sustained as to Goerdel, Getha-
                  Taylor and Robinson; overruled as to Lejuez, ECF 38, at 39-40, 45-46, 47).

           vi.    Defendants are entitled to Eleventh Amendment immunity for § 1983
                  claims seeking prospective relief from individual defendants in their official
                  capacities, as individuals do not the power to reinstate Babakr (ECF 38, at
                  19; ECF 58, at 4-5 (Lejuez, Latta, Getha-Taylor), adopted by ECF 67).

          vii.    As to Count 1, Babakr is not entitled to emotional distress damages for Title
                  VI retaliation. See Cummings v. Premier Rehab Keller, P.L.L.C., 142 S. Ct.
                  1562, 1576 (Apr. 28, 2022).

          viii.   As to Count 1, Babakr is not entitled to punitive damages for Title VI
                  retaliation. See Barnes v. Gorman, 536 U.S. 181, 189 (2002).

           ix.    As to Counts IV, V, and VI, Babakr is not entitled to punitive damages as
                  to § 1983 claims against individual defendants because their conduct did
                  not involve reckless or callous indifference to plaintiff’s federally protected
                  rights, and they were not motivated by evil motive or intent. See Smith v.
                  Wade, 461 U.S. 30, 56 (1983).

            x.    As to Count III, Babakr is not entitled to punitive or exemplary damages or
                  for interest prior to judgment as to state law civil conspiracy claims against

          (defamation), 54 (fraudulent misrepresentation), 57-58 (intentional infliction of
          emotional distress));
     d.   Defamation (id. at 54; ECF 58, at 9-10, adopted by ECF 67);
     e.   Unjust enrichment (ECF 38, at 55);
     f.   Intentional infliction of emotional distress (id. at 58); and
     g.   Breach of contract (id.).

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                      individual defendants because they did not act with actual fraud or actual
                      malice. See KAN. STAT. ANN. § 75-6105(c).

               xi.    Babakr’s damages, if any, are not of the nature or to the extent alleged
                      because he did not disclose documents that form the basis of his calculated
                      damages; his claimed economic loss is based on amounts available to him
                      from his sponsor and not expenses he personally incurred; and his claimed
                      future economic loss is not based on any disclosed facts or documents or
                      expert testimony.

              xii.    Babakr has failed to mitigate his damages by not working since his
                      academic dismissal and by not attempting to take his specialization exam.

             xiii.    As to Count III, Babakr’s damages for state law civil conspiracy are limited
                      to $500,000 for all claims arising out of a single occurrence. See KAN.
                      STAT. ANN. § 75-6105(a).

5.     DAMAGES AND NON-MONETARY RELIEF REQUESTED.

       Babakr seeks the following damages and non-monetary relief:

       a.     Past economic loss: $250,087.59

       b.     Future economic loss: $25,000 annually for the period of February 2018 until
              reinstatement to the doctoral program or retirement.

       c.     Past and future emotional distress: $200,000

       d.     Punitive damages: $1,000,000

       e.     Litigation expenses: unliquidated

       f.     Injunctive relief as follows:

                 i.   Ordering KU and the individual defendants in their official capacities—
                      namely, the doctoral committee and the School Director—to reinstate me
                      and allow me to pursue a new specialization;

                ii.   Ordering Defendants not to target me for further retaliation when I am re-
                      admitted;

               iii.   Ordering KU to get my sponsor’s approval to reinstate my scholarship and
                      grant me the additional required time to finish the degree;



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                iv.    Ordering KU to write a letter to the United States Citizenship and
                       Immigration Services and the United States Department of State indicating
                       that the reason I fell out of my J-1 visa status was beyond my control;

                 v.    Ordering Defendants to follow their policies, including allowing my
                       committee to be chaired by my advisor to conduct my specialization
                       examination;

                vi.    Ordering Defendants to normalize the environment in terms of how faculty
                       members, staff, and students treat me and to create a healthy environment
                       in which I do not feel that I am unwelcome or that I am the subject of
                       departmental gossip or faculty meetings;

                vii.   Ordering Defendants to deduct the period of January 2014 to December
                       2017 from the number of years required to gain the PhD degree at the
                       School, as new classes should be taken in lieu of classes taken in those
                       years. As for the semesters in which I was enrolled in dissertation hours, it
                       was merely a place-holding mechanism that took me nowhere; and

               viii.   Ordering Defendants to drop the incidence of probation in my records.

6.     AMENDMENTS TO PLEADINGS.

       Babakr intends to file a motion for leave to amend to add Morgan Swartzlander, a manager

at the College of Graduate Affairs, and Rachael Rolf, an attorney formerly in KU’s general counsel

office, as parties to the civil conspiracy claims in Counts III and IV. By separate order, the court

set briefing deadlines for this anticipated motion.

7.     DISCOVERY.

       Under the scheduling order and any amendments, all discovery was to have been completed

by April 1, 2022. Babakr asserts that discovery is incomplete, whereas Defendants assert that

discovery is complete, and they object to any additional discovery and to Babakr’s proposed

motion to compel.

       By stipulation of the parties, Defendants served their responses to Babakr’s written

discovery on April 21. On April 22, Defendants produced additional documents in response to


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Babakr’s requests for production. On April 27, Defendants provided Babakr with O’Leary’s

verification page to her Answers to Interrogatories. Babakr asserts that Defendants’ answers to

Babakr’s written discovery are deficient. The court directed the parties to meet and confer in an

attempt to resolve Babakr’s concerns about these deficiencies and, to the extent that they reach an

impasse, the court directed them to contact the undersigned’s chambers to request a discovery

conference before filing any disputed discovery-related motion.

       Babakr sought leave of court to conduct 10 depositions after the discovery deadline. That

request was denied. (ECF 105.) Babakr has not taken any depositions.

       Babakr intends to provide supplemental disclosures now that he has access to his PST files.

       Unopposed discovery may continue after the deadline for completion of discovery so long

as it does not delay the briefing of or ruling on dispositive motions or other pretrial preparations.

Although discovery may be conducted beyond the deadline to complete discovery if all parties are

in agreement to do so, under these circumstances the court will not be available to resolve any

disputes that arise during the course of such extended discovery.

8.     MOTIONS.

       a.      Pending Motions.

       None.

       b.      Additional Pretrial Motions.

       After the pretrial conference, the parties intend to file the following motions:

                  i.   Babakr intends to file a motion to compel discovery responses and a motion
                       in limine,

                 ii.   Defendants intend to file a motion for summary judgment and a motion in
                       limine.


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         The dispositive-motion deadline, as amended, is June 22, 2022. The parties should follow

the summary-judgment guidelines available on the court’s website:

     http://ksd.uscourts.gov/wp-content/uploads/2015/10/Summary-Judgment-Guidelines.pdf

         Consistent with the scheduling order filed earlier in this case, the arguments and authorities

section of briefs or memoranda must not exceed 30 pages, absent an order of the court.

         c.     Motions Regarding Expert Testimony.

         Not applicable, i.e., the parties have stipulated that no expert testimony will be used in this

 case.

9.       TRIAL.

         The court will subsequently set this case for trial. Trial will be set in Kansas City, Kansas.

This case will be tried by jury. Trial is expected to take approximately 5 days. The court will

attempt to decide any timely filed dispositive motions approximately 60 days before trial. If no

dispositive motions are timely filed, or if the case remains at issue after timely dispositive motions

have been decided, then the trial judge may enter an order or convene another pretrial conference

to set deadlines for filing final witness and exhibit disclosures, exchanging and marking trial

exhibits, designating deposition testimony for presentation at trial, motions in limine, proposed

instructions in jury trials, and proposed findings of fact and conclusions of law in bench trials.

         IT IS SO ORDERED.

         Dated June 8, 2022, at Kansas City, Kansas.



                                                     s/ Angel D. Mitchell
                                                Angel D. Mitchell
                                                U. S. Magistrate Judge


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